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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
KATHERINE MARTIN,
Plaintiff,
vS.

GOVERNMENT EMPLOYEES
INSURANCE COMPANY,

Defendant.

 

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GOVERNMENT EMPLOYEES )
INSURANCE COMPANY, )
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Third-Party Plaintiff, )
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VS.

TERRENCE K. GIFFORD; JOY A.
KRISTIANSEN (f/k/a JOY A.
GIFFORD); and DANIELLE
GIFFORD

Third-Party Defendants.
Case NO. 3:12-cv-OOO60-RRB

 

STIPULATION TO DISMISS WITH PREJUDICE

 

COME NOW the partieS, Katherine Martin and Government
Employees InSurance Company (“GEICO”), by and through their

respective attorneys Of record, and Terrence K. Gifford, JOy A.

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Kristiansen, and Danielle Gifford, pro se, and hereby stipulate
and agree that any and all claims asserted, or that could have
been asserted, by plaintiff against GEICO, and by GEICO against
the third-party defendants, in the above-listed matter are to be
dismissed with prejudice, with each party to bear its own costs

and attorney fees.

LAW OFFICE OF HOZUBIN & MOBERLY
Attorneys for GEICO

June 20, 2014 By: s/Rebecca J. Hozubin

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Kristiansen, and Danielle Gifford, pro se, and hereby stipulate
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and attorney fees.

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CERTIFICATE OF SERVICE

l hereby certify that on the

20th day of June 2014, a true

and correct copy of the foregoing
was electronically served on the
following:

 

Curtis W. Martin, Esq.

Law Office of Curtis W. Martin
263 S. Alaska Street

Palmer, AK 99645

And mailed to:

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Danielle Gifford
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Joy A. Kristiansen
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Palmer, AK 99645

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By: S/Rebecca J. Hozubin

 

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